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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

MITCHELL MUSTAINE              : Case No. 3:20CV00504
1736 Emerson Avenue            :
Dayton, OH 45406               : Judge
                               :
              Plaintiff,       :
                               :
vs.                            :
                               :
MONTGOMERY COUNTY BOARD :
OF COUNTY COMMISSIONERS        :
In its official capacity       :
451 W. Third Street            :
Dayton, OH 45422               :
                               :
and                            :
                               :
MONTGOMERY COUNTY COURT :
OF COMMON PLEAS                :
41 North Perry Street          :
Dayton, OH 45422               :
                               :
and                            :
                               :
JUDGE RICHARD SKELTON,         :
In his individual and official :
capacities                     :
41 North Perry Street          :
Dayton, OH 45422               :
                               :
              Defendants.      :
_______________________________________________________

               COMPLAINT AND JURY DEMAND
_______________________________________________________

      Plaintiff Mitchell Mustaine, for his Complaint against Defendants Montgomery

County Board of County Commissioners, Montgomery County Court of Common Pleas,

and Judge Richard Skelton, states as follows:




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                          I. PRELIMINARY STATEMENT

1.     This is a civil rights action arising out of Plaintiff Mitchell Mustaine’s employment

with Defendants. Mr. Mustaine alleges that he was unlawfully terminated because of his

disability and in retaliation for requesting a medical leave of absence.

2.     Mr. Mustaine’s claims arise under the Rehabilitation Act, Family and Medical

Leave Act, 42 U.S.C. § 1983, and the Ohio Civil Rights Act.

3.     Mr. Mustaine seeks relief for the aforementioned acts and/or omissions in the

form of compensatory damages for both his economic and non-economic injuries. He

also seeks liquidated and/or punitive damages, equitable relief in the form of

reinstatement or front pay, and his reasonable attorney fees and costs in prosecuting this

matter.

                          II. JURISDICTION AND VENUE

4.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 to secure

protections and redress deprivations of rights conferred by the Rehabilitation Act, FMLA,

and 42 U.S.C. § 1983. This Court may assume supplemental jurisdiction over Mr.

Mustaine’s state law claims pursuant to 28 U.S.C. § 1367 because those claims derive from

the same nucleus of operative facts as his federal claims.

5.     Venue with this Court is appropriate because all or part of the claim for relief arose

in the Southern District of Ohio.

                                      III. PARTIES

6.     Plaintiff Mitchell Mustaine is a United States citizen and a resident of Montgomery

County, Ohio. Mr. Mustaine was employed as a Judicial Assistant at the Montgomery

County Court of Common Pleas for Judge Richard Skelton. Mr. Mustaine is disabled as

that term is defined by the Rehabilitation Act and Ohio Civil Rights Act.

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7.      Defendant Montgomery County Board of County Commissioners make up the

administrative body for Montgomery County. The Montgomery County Board of County

Commissioners employed Mr. Mustaine.

8.      Defendant Montgomery County Court of Common Pleas is a judicial body created,

organized, and operated under the auspices of O.R.C. § 2301 et seq. In addition to its

judicial functions, the Court maintains, operates, supervises, and exercises administrative

control over Court personnel.

9.      Judge Richard Skelton is a judge who was elected to the Montgomery County Court

of Common Pleas. Judge Skelton has held his seat in the Montgomery County Court of

Common Pleas since January 2015.

                          IV. STATEMENT OF THE CASE

10.     Mr. Mustaine began working for Judge Skelton in January 2014 as a paralegal at

Skelton Law, LPA.

11.     Around that time, Judge Skelton began campaigning for a seat on the Montgomery

County Court of Common Pleas.

12.     In November 2014, Judge Skelton won the election for a seat on the Montgomery

County Court of Common Pleas.

13.     Defendants hired Mr. Mustaine in January 2015 as a Judicial Assistant to Judge

Skelton. Throughout Mr. Mustaine’s employment, he received regular performance

reviews and raises.

14.     While employed by Defendants, Judge Skelton regularly required Mr. Mustaine to

perform work outside of his regular job duties.




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15.     For example, Judge Skelton required Mr. Mustaine to perform manual labor, such

as mowing his lawn, landscaping, moving furniture at Judge Skelton’s residence, as well

as closing down Judge Skelton’s private law office.

16.     In May 2017, Mr. Mustaine underwent shoulder surgery to repair a torn labrum.

Following the procedure, Mr. Mustaine required a medical leave of absence for

approximately six weeks.

17.     During the rehabilitation for his shoulder, Judge Skelton constantly contacted Mr.

Mustaine to criticize him for his use of leave.

18.     When Mr. Mustaine returned from shoulder surgery, he endured constant mental

and physical abuse from Judge Skelton.

19.     In or about April 2018, Mr. Mustaine was diagnosed with atypical depression,

reactive depression, and PTSD because of the treatment he received from Judge Skelton.

Because of this, Mr. Mustaine required occasional leave to care for his PTSD.

20.     On one occasion while Mr. Mustaine was on leave to treat for his PTSD, Judge

Skelton demanded that he return to work before his scheduled leave had concluded. Mr.

Mustaine succumbed to Judge Skelton’s demand.

21.     In the summer of 2018, Mr. Mustaine underwent surgery on his wrist and required

another medical leave of absence.

22.     Much like when he took leave for shoulder surgery in 2017, Judge Skelton

constantly contacted Mr. Mustaine to criticize him for his use of leave. Ultimately, Mr.

Mustaine returned to work following his medical leave of absence without restriction.

23.     In or about June 2018, Mr. Mustaine underwent a biopsy to test for prostate

cancer. The initial results were positive for prostate cancer. In order to confirm the

diagnosis, Mr. Mustaine’s physician ordered a second biopsy.

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24.     When Mr. Mustaine told Judge Skelton of the diagnosis and that he required the

second biopsy, Judge Skelton remarked: “Oh great, just what you need, more

appointments.”

25.     On December 17, 2018, Mr. Mustaine’s physician confirmed the diagnosis of

prostate cancer.

26.     Shortly thereafter, Mr. Mustaine informed Judge Skelton of his diagnosis, and that

he would need time off for surgery to treat his prostate cancer.

27.     On December 21, 2018, Defendants terminated Mr. Mustaine.               During his

termination meeting, Judge Skelton told Mr. Mustaine that he had no use for him because

of his health issues.

28.     Defendants terminated Mr. Mustaine because of his disability and because Mr.

Mustaine notified Defendants that he would require medical leave.

29.     The acts and/or omissions of Defendants were taken intentionally, maliciously,

and purposefully, with a conscious disregard for Mr. Mustaine’s rights under federal and

state civil rights laws.

30.     As a direct and proximate result of Defendants’ actions, Mr. Mustaine has suffered

and will continue to suffer damages from lost income and benefits, emotional distress,

and damage to his professional reputation.

                           VI. STATEMENT OF THE CLAIMS

                         Count 1: Disability Discrimination
                     (29 U.S.C. § 701, Ohio Rev. Code § 4112.02)

31.     Plaintiff incorporates paragraphs 1 through 30 as if fully rewritten herein.

32.     Mr. Mustaine suffers from a disability.




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33.     Mr. Mustaine is qualified to perform the essential functions of his position with a

reasonable accommodation.

34.     Defendants terminated Mr. Mustaine because of his disability.

35.     As a result of Defendants’ illegal actions, Mr. Mustaine has suffered damages

including lost wages and emotional distress.

36.     Defendants acted with malice and a conscious disregard for Mr. Mustaine’s

federally protected rights.

                          Count 2: Disability Discrimination
                                  (42 U.S.C. § 1983)

37.     Plaintiff incorporates paragraphs 1 through 36 as if fully rewritten herein.

38.     Mr. Mustaine suffers from a disability.

39.     Mr. Mustaine is qualified to perform the essential functions of his position with a

reasonable accommodation.

40.     Defendants terminated Mr. Mustaine because of his disability.

41.     There is no rational basis for Defendants’ action that treated him differently

because of his disability.

42.     As a result of Defendants’ illegal actions, Mr. Mustaine has suffered damages

including lost wages and emotional distress.

43.     Defendants acted with malice and a conscious disregard for Mr. Mustaine’s

federally protected rights.

                        Count 3: Failure to Accommodate
                  (29 U.S.C. § 701 and Ohio Rev. Code § 4112.02)

44.     Plaintiff incorporates paragraphs 1 through 43 as if fully rewritten herein.

45.     Mr. Mustaine suffers from a disability.



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46.     Mr. Mustaine was otherwise qualified to work for Defendants with a reasonable

accommodation.

47.     Defendants were aware of Mr. Mustaine’s disability.

48.     Mr. Mustaine requested an accommodation in the form of a medical leave of

absence to care for his disability. The accommodation is reasonable because the medical

leave of absence would allow him to perform the essential functions of his job and would

not unduly harm Defendants.

49.     A causal connection exists between Mr. Mustaine’s disability and the request for

accommodation.

50.     Defendants failed to provide the necessary accommodation, and did not propose a

reasonable, alternative accommodation that would allow Mr. Mustaine to perform the

essential functions of his position.

51.     As a result of Defendants’ illegal actions, Mr. Mustaine has suffered damages

including lost wages and emotional distress.

52.     Defendants acted with malice and a conscious disregard for Mr. Mustaine’s rights

under federal law not to be subjected to discrimination in his employment on account of

a disability.

                               Count 4: Retaliation
                       (29 U.S.C. § 701 and O.R.C. § 4112.02)

53.     Mr. Mustaine incorporates paragraphs 1 through 52 as if fully rewritten herein.

54.     Mr. Mustaine engaged in protected activity when he requested a medical leave of

absence.

55.     Defendants were aware of his request.

56.     Defendants terminated Mr. Mustaine.


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57.     There is a causal connection between Mr. Mustaine’s termination and his request

for a medical leave of absence.

58.     As a result of Defendants’ illegal actions, Mr. Mustaine has suffered damages

including lost wages and emotional distress.

59.     Defendants acted with malice and a conscious disregard for Mr. Mustaine’s rights

under federal and state law not to be subjected to discrimination in his employment on

account of a disability.

                             Count 5: FMLA Interference
                                 (29 U.S.C. § 2601)

60.     Plaintiff incorporates paragraphs 1 through 59 as if fully rewritten herein.

61.     Mr. Mustaine was entitled to FMLA leave.

62.     Mr. Mustaine requested medical leave to treat for his prostate cancer.

63.     Defendants terminated Mr. Mustaine.

64.     Mr. Mustaine’s request for medical leave was a negative factor in Defendants’

decision to terminate Mr. Mustaine’s employment.

65.     As a result of Defendants’ actions, Mr. Mustaine suffered damages, including lost

wages and other economic harm.

66.     Defendants acted in bad faith.

                                  PRAYER FOR RELIEF

        Wherefore, Mr. Mustaine demands judgment against the Montgomery County

Board of County Commissioners, the Montgomery County Court of Common Pleas, and

Judge Richard Skelton as follows:

1.      An award of compensatory damages for all economic damages suffered by Mr.

Mustaine in an amount to be determined at trial, plus interest;


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2.     An award of liquidated damages in an amount equal to his economic damages and

interest;

3.     An award of compensatory damages for all non-economic damages suffered by Mr.

Mustaine in an amount to be determined at trial;

4.     For an order reinstating Mr. Mustaine to his previous position with Defendants,

inclusive of all pay increases and benefits to which he would have been entitled had he

not been terminated, or in the alternative, an award of front pay;

5.     For an award of punitive damages in an amount to be determined at trial;

6.     For an award of Mr. Mustaine’s reasonable attorney fees and costs;

7.     For an award of any other relief in law or equity to which Mr. Mustaine is entitled

under the premises.



                                                Respectfully submitted,
                                                MEZIBOV BUTLER
                                                /s/ Brian J. Butler___________
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                                   JURY DEMAND

      Plaintiff Mitchell Mustaine demands a jury trial to resolve all issues of fact related

to his Complaint.


                                                 /s/ Brian J. Butler___________
                                                 Brian J. Butler (OH No. 0082675)




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